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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


ON SEMICONDUCTOR CORPORATION
and SEMICONDUCTOR COMPONENTS
INDUSTRIES, LLC,

                  Plaintiffs,
                                                         C.A. No. 17-247-LPS-CJB
         v.

POWER INTEGRATIONS, INC.,

                  Defendant.



                     STIPULATION AND PROPOSED ORDER REGARDING
                         EXTENSION OF CERTAIN CASE DEADLINES

            The parties hereby stipulate and agree, subject to the Court’s approval, that the deadlines

for certain fact and expert discovery deadlines, which were previously ordered by the Court, be

amended as follows:

    Event                                   Previous Deadline             Amended Deadline

    Completion of depositions and           April 2, 2019                 April 10, 2019
    follow-up discovery arising from
    disclosures after the February 5,
    2019 fact discovery cutoff1
    Opening Expert Reports                  April 12, 2019                April 17, 2019
    Rebuttal Expert Reports                 May 13, 2019                  May 17, 2019



            The parties agree that the extension of discovery shall be for the sole purpose of

completing previously noticed depositions and for completion of follow-up discovery arising

from disclosures of information after the February 5, 2019 fact discovery cutoff in this matter.


1
 The deadline for the completion of depositions does not apply to the depositions of Isao Ochiai
or Ivo Vecera.


{01433871;v1 }
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The stipulated amended deadlines will not impact the September 24, 2019 hearing on dispositive

motions, the January 10, 2019 pretrial conference or trial, which is set to start on February 10,

2020.



 ASHBY & GEDDES                                       FISH & RICHARDSON P.C.

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         SO ORDERED this _____ day of ____________, 2019.




                                                      ___________________________
                                                      Chief Judge




{01433871;v1 }                               2
